         Case 17-01314      Doc 98     Filed 10/18/19 Entered 10/18/19 12:57:23             Desc Hearing
                                             Notice Page 1 of 1
                         UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF IOWA
                                                               CHAPTER 7
In Re:                                                         Bankruptcy No.

Rebecca S. Frazier                                             17−01314

Debtor(s)



                           NOTICE SETTING HEARING
          ON MOTION TO RECONVERT TO CHAPTER 13 AND PLAN FEASIBILITY



TO:
Derek N.W. Hong, Attorney for Debtor(s)
Sheryl Schnittjer, Trustee
United States Trustee
Eric Lam and Eric Langston, Attorneys for Trustee
Mark D. Walz, Attorney for Wilmington Savings Fund Society, FSB d/b/a Christiana Trust



NOTICE IS HEREBY GIVEN the above matter(s) will come before the Court on:

                                          October 29, 2019 at 02:15 PM

                         At: 6th Floor Courtroom, 111 Seventh Avenue SE, Cedar Rapids, IA




                                                         MEGAN R. WEISS
                                                         Clerk, Bankruptcy Court
                                                         by:



Date: October 18, 2019                                   Deputy Clerk
                                                         United States Bankruptcy Court
                                                         Northern District of Iowa
                                                         111 Seventh Avenue SE Box 15
                                                         Cedar Rapids, IA 52401−2101
